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AQ 245 B (Rev. 06-05) Sheet 1 - Judement in a Criminal Case

 

 

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
VS.

ALTON FRANCIS

THE DEFENDANT:
{X]| pleaded guilty to count(s) 1 of the Information.
[ ] pleaded nolo contendere to count(s)

which (was)(were) accepted by the court.

JUDGMENT IN A CRIMINAL CASE
CASE NUMBER: 1:06-CR-051

USM NUMBER;

Defendant's A

[ ] was found guilty on count(s) after a plea of not guilty.

13465-067

Robert Daniels, Esquire

ney

 

 

 

 

 

HARRISBURG, PA DEPUTY CLERK

 

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

Title/Section Nature of Offense

Marijuana

Date Offense Count
Concluded Number(s)
21 USC 841 (a) Distribution and Possession with the Intent to Distribute 50 Kilograms and Less of
02/03/2006 |

 

The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed

pursuant to the Sentencing Reform Act of 1984.
[ ] The defendant has been found not guilty on count(s)

 

|X ] Count(s) 1] and 2? of the Original Indictment (is)(are) dismissed on the motion of the United States.

{1 IS FURTHER ORDERED that the defendant shall natify the United States Attorney for this district within
30 days of any change of name, residence or, mailing address until all fines, restitution, costs and special
assessments imposed by this judgment are fully paid. If ordered to pay restitution, the defendant shall notify the
court and United States Attorney of any material change in the defendant’s economic circumstances.

July 20, 2006

Date of Imposition of Sentence

Date 7/20/06

S/ Yvette Kane

 

Yvette Kane, U.S. District Judge
Middle District of Pennsylvania

wLS.GPO:1990-722-448/ 10286

 
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AO 245 B (Rev. 06/05) Judgment in a Criminal Case, Sheet 2 - Imprisonment

 

 

Defendant: ALTON FRANCIS Judgment-Page 2 of 7
Case Number: 1 :06-CR-051
IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for aterm of 6 (six) months.

| | The court makes the following recommendations lo the Bureau of Prisons:

[ ] The defendant is remanded to the custody of the United States Marshal.
[ | The defendant shall surrender to the United States Marshal for this district.

[ ] at a.m.-pan. on
f | as notified by the LS. Marshal.
| | The defendant shall surrender for service of sentence al the institution designated by the Bureau of Prisons,
[ ] before 2 p.m. on .
[ ] as notified by the United States Marshal.
[ ] a8 notified by the probation office.
[ ] The defendant is to contact the United States Marshal's Office no later than three days prior 10 the above datc to be notified of the

place of confinement.

RETURN
I have executed this judgment as follows:

 

 

 

 

Detendant delivered on to at

, with a certified copy of this judgment.

 

 

United States Marshal

 

Deputy Marshal
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AO 245 B (Rev. 06/05) Judgment in a Criminal Case, Sheet 3 - Supervised Release

 

Defendant: ALTON FRANCIS Judgment-Page 3 of 7
Case Number: 1:06-CR-051
SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 2 (two) years

The defendant shall report to the probation office in the district to which the defendant is released within 72
hours of release from the custody of the Bureau of Prisons.

The detendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any
unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days of release
from imprisonment and at least two periodic drug tests thereafler, as determined by the court.

[ ] The above drug testing condition is suspended based on the court's determination that the defendant poses a
low risk of future substance abuse. (Check, if applicable.)

[X ] The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if
applicable).

[ ] The defendant shall register with the state sex offender registration agency in the state where the defendant
resides, works, or 1s a student, as directed by the probation officer. (Check, if applicable).

[ ] The defendant shall participate in an approved program for domestic violence. (Check, if applicable),

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in
accordance with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with
any additional conditions on the attached pages.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation
officer;

2) the defendant shall report to the probation officer as directed by the court or probation officer and
shall submit a truthful and complete written report within the first five days of cach month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the
instructions of the probation officer;

4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training or other acceptable reasons;

6) the defendant shall notify the probation officer at Ilcast ten days prior to any change in residence or
employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to
such substances, execpt as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances arc illegally sold, used,
distributed or administered;
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AO 245 B (Rev. 06/05) Judgment in a Criminal Case. Sheet 3 - Supervised Release

 

Defendant: ALTON FRANCIS Judgment-Page 4 of 7
Case Number: 1:06-CR-051

9)

10)
11)
12)

13)

18)

STANDARD CONDITIONS OF SUPERVISION CONTINUED

the defendant shall not associate with any persons engaged in criminal activity, and shall not
associate with any person convicted of a felony unless granted permission to do so by the probation
officer;

the defendant shall permit a probation officer to visit him or her at any time a home or elsewhere
and shall permit confiscation of any contraband observed in plain view by the probation officer;

the defendant shall notify the probation officer within seventy-two hours of being arrested or
questioned by a law enforcement officer;

the defendant shall not enter into any agreement to act as an informer or special agent of a law
enforcement agency without the permission of the court;

the defendant, as directed by the probation officer, shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics, and shall
permit the probation officer to make such notifications and to confirm the defendant's compliance
with such notification requirement.

the defendant shall refrain from possessing a firearm, destructive device, or other dangerous
weapon.

the defendant shall participate in a program of testing and treatment for drug abuse, as directed by
the Probation Office, until such time as you are released from the program by the Probation Officer.
the defendant shall notify the Court and U.S. Attorney’s Office of any material change in the
defendant's economic circumstances that might affect the defendant's ability to pay restitution, fines
or Special assessments.

the defendant shall not incur new credit charges or open additional lines of credit without the
approval of the Probation Officer unless the defendant is in compliance with the installment schedule
for payment of restitution, fines or special assessments.

the defendant shall provide the Probation Officer with access to any requested financial information.

Upon a finding of a violation of probation or supervised release, I understand that the court may (1)
revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of

supervision.

These conditions have been read to me. I fully understand the conditions and have been provided a

copy of them.

(Signed)

 

Date

 

U.S. Probation Officer/Designated Witness Date
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AO 245 B (Rev. 06/05) Judgment in a Criminal Case, Sheet 4 Supervised Release

 

Defendant: ALTON FRANCIS Judgment-Page 5 of 7
Case Number: 1:06-CR-051

ADDITIONAL CONDITIONS OF SUPERVISION

| - The defendant shall pay any balance of the fine and restitution imposed by this judgment which remains unpaid at the
commencement of the term of supervised release in minimum monthly installments of no less than $45.00.

2 - If deported or removed, the defendant shall remain outside the United States and supervision shall be on a
non-reporting basis.
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AO 245 B (Rev. 06/05) Judgment in a Criminal Case, Sheet 5 - Criminal Monetary Penalties

 

 

Defendant: ALTON FRANCIS Judgment-Page 6 of 7
Case Number: 1:06-CR-03 1

CRIMINAL MONETARY PENALTIES

The defendant shali pay the following total criminal monetary penalties in accordance with the schedule of
payments set forth on Shect 6.

 

Assessment Fine Restitution
Totals: $100.00 $500.00 $500.00
[ ] The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO

245 C) will be entered after such determination.

| ] The defendant shall make restitution (including community restitution) to the following payees in the amount
listed below.

the defendant makes a partial payment, cach payee shall receive an approximately proportioned payment. unless specified othemsise in the prrerity order or
percenliwe payment column below However, pursuant to 18 15.0. 366407). all non federal victims must be paid in full prior to the United States receiving payment.

NAME OF PAYEE TOTAL LOSS RESTITUTION ORDER PRIORITY OF PERCENTAGE

 

The Pennsylvania Victims 65%
Compensation Program

Atfention: Caro] Lavery

P. O. Box 116?

Harrisburg. PA. 17108

The Pennsylvania Bureau 35%
of Drug and Alcohol] Program

02 Kline Plaza, Suite B

Harrisburg. PA. | 7104

TOTALS 8 500.00 5300.00 100%

[ ] Restitution amount ordered pursuant to piea agreement S$

| ] The defendant shail pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifleenth day after the date of the judgment, pursuant to 18 U.S.C. 3612(f). All of the payment options on Sheet 6 may be subject to
penalties for delinquency and default, pursuant to 18 U.S.C. 3612{g).

| ] Whe court determined that the defendant does not have the ability to pay interest, and il is ordered thal:
[ | the interest requirement is waived forthe [] fine [ ] restitution.
[ ] the interest requirement for the [ ] fine [ ] restitution is medified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for
offenses committed on or after September 13, 1994 but before April 23. 1996.
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AO 245 B (Rev. 06/05) Judgment in a Criminal Case, Sheet 6, Part B-Financial Penalties

 

Defendant: ALTON FRANCIS Judgment-Page 7 of 7
Case Number: 1:06-CR-05 1

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability 10 pay, payment of the tetal criminal monetary penalties shall be due as follows:

A |X] Lump sum payment of § 1100.00 due immediately, and payable during the period of incarceration with any
balance to be paid within three years of release from custody.
f ] not later than or
[X] in accordance with [| C,[] D. [ ] E [X] F below; or
B | [ Payment to begin immediately {may be combined with [] C, [| ]D. or [ ] F below): or

C | | Payment in equal (e.g., weekly, monthly, quarterly) installments of $s vera period of
{e.2., months or years}, to commence _. te.g., 30 or 60 days) after the date of this judgment, or

D | ] Payment in equal _ _fe.g., weekly, monthly, quarterly) installments of $ ___ over a period of

{e.g., months or years), to commence (e.g., 30 or 60 days) affer release from imprisonment to a term of
Supervision: or
E | | Payment during the term of supervised release will commence within ____(@.g.. 30 or 60 days) after release from
imprisonment. The Court will set the payment plan based on an assessment of the defendant’s ability to pay at thal time; or
F [X| Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay any balance of the fine and restitution imposed by this judgment which remains unpaid at the
commencement of the lenn of supervised release in minimum monthly installments of no less than $45.00.

Unless the court has expressly ordered otherwise in the special instruction above, if this judgment imposes a period of
imprisonment payment of criminal monetary penalties shall be due during the period of imprisonment with any balance to be paid
within two vears of defendant's release from custody. All criminal monetary penalty payments are to be made to the Clerk, United
States District Court. Middle District of Pennsylvania, 235 North Washington Ave. and Linden Street, Room 101, Post Office Box
1148, Scranton. Pa. 18501, except those payments made through the Bureau of Prisons' Inmate Financial Responsibility Program.

The defendant shall receive credit for all payments previously made toward any criminal monetary penallies imposed.

[ ] Joint and Several
Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount. Joint and Several Amount,
and corresponding payee, if appropriate.

| | The defendant shall pay the cost of prosecution.
[ ] Vhe defendant shall pay the following court cost(s):

{ ] The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest. (4) fine principal,
(3) fine interest, (6) community restitution. (7) penalties, and (8) costs, including cost of prosecution and court costs.
